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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


3 KINGZ SEAFOODS, LLC                             §
                Plaintiff,                        §
                                                  §      Civil Action No. 4:18-cv-04237
vs.                                               §
                                                  §      Jury Demanded
TONIQUE CLAY, KWAYLON ROGERS                      §
and 3 KINGZ SEAFOODS, LLC                         §
                 Defendants.                      §

                   AGREED MOTION TO DISMISS WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff 3 Kingz Seafoods, LLC (“Plaintiff”) and Defendants Tonique Clay, Kwaylon

Rogers, and 3 Kingz Seafoods, llc (“Defendants”) (collectively “Parties”) hereby file this Agreed

Motion to Dismiss with Prejudice all causes of action brought by the Plaintiff, and would

respectfully show the Court as follows:

       Plaintiff and Defendants entered into a Release and Settlement Agreement, with an

Effective date of May 9, 2019, pursuant to which Plaintiff agreed to move for a dismissal of its

claims against Defendants with prejudice. This dismissal is made without waiver of Plaintiff’s

rights under the Release and Settlement Agreement and reserving all rights thereunder.

       WHEREFORE, the Parties respectfully request that this Court enter the approved and

submitted Order, dismissing the above-entitled and numbered cause of action with prejudice, and

without costs of disbursement to either party.

                                             Respectfully submitted,

                                             ELLIOTT & POLASEK, PLLC

Dated: May 10, 2019                          By: /s/ Douglas H. Elliott
                                                DOUGLAS H. ELLIOTT
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                                        COUNSEL FOR PLAINTIFF


                                     Respectfully submitted,

                                     RAMEY & SCHWALLER, LLP

Dated: May 10, 2019           By: /s/ William P. Ramey (with permission)
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served this 10th day of May 2019 with a copy of this
document via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                    /s/ Douglas H. Elliott
                                                    Douglas H. Elliott




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